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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,
                                                 CR 15-64-BLG-SPW
                     Plaintiff,

vs.                                               ORDER

MONICA LIMBERHAND,

                     Defendant.

      Upon the Court’s own motion,
      IT IS HEREBY ORDERED that the in-person Final Hearing regarding
Revocation of Supervised Release currently scheduled for Thursday, November
12, 2020 at 9:30 a.m., is VACATED and RESET to commence on Tuesday,
November 10, 2020 at 10:30 a.m. in the Big Horn Courtroom of the James F.
Battin U.S. Courthouse, Billings, Montana.
      The Clerk shall forthwith notify the parties of the making of this Order.
      DATED this 20th day of October, 2020.


                                             SUSAN P. WATTERS
                                             United States District Judge




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